Case 1:16-cv-00063-ARR-JO Document 15-1 Filed 06/02/16 Page 1 of 8 PageID #: 53




              EXHIBIT 1
Case 1:16-cv-00063-ARR-JO Document 15-1 Filed 06/02/16 Page 2 of 8 PageID #: 54
Case 1:16-cv-00063-ARR-JO Document 15-1 Filed 06/02/16 Page 3 of 8 PageID #: 55
Case 1:16-cv-00063-ARR-JO Document 15-1 Filed 06/02/16 Page 4 of 8 PageID #: 56
Case 1:16-cv-00063-ARR-JO Document 15-1 Filed 06/02/16 Page 5 of 8 PageID #: 57
Case 1:16-cv-00063-ARR-JO Document 15-1 Filed 06/02/16 Page 6 of 8 PageID #: 58
Case 1:16-cv-00063-ARR-JO Document 15-1 Filed 06/02/16 Page 7 of 8 PageID #: 59
Case 1:16-cv-00063-ARR-JO Document 15-1 Filed 06/02/16 Page 8 of 8 PageID #: 60
